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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 22-cr-00202-RM

UNITED STATES OF AMERICA,

        Plaintiff,

v.

     1. DHRUV JANI,
     2. JAMES ALBERT WITTE, and
     3. JASON LEE HENDERSON,

        Defendants.


                              SUPERSEDING INDICTMENT


The Grand Jury charges:
                                      COUNT 1
                             Money Laundering Conspiracy
                                (18 U.S.C. 1956(h) and
                                   1956(a)(1)(B)(i))

     1. From in or about January 2020, and continuing thereafter until in or about

April 2021, in the State and District of Colorado and elsewhere,

        DHRUV JANI, JAMES ALBERT WITTE, and JASON LEE HENDERSON

did knowingly combine, conspire and agree with each other and with other persons

unknown to the Grand Jury, to commit offenses against the United States in violation of

Title 18, United States Code, Section 1956, to wit: to knowingly conduct and attempt to

conduct financial transactions affecting interstate commerce, which transactions

involved the proceeds of specified unlawful activity, that is, mail fraud, in violation of

Title 18, United States Code, Section 1341, and knowing that the transactions were

designed in whole or in part to conceal and disguise the nature, location, source,

ownership, and control of the proceeds of specified unlawful activity, and also knowing,
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while conducting and attempting to conduct such financial transactions, that the

property involved in the financial transactions represented the proceeds of some form of

unlawful activity, in violation of Title 18, United States Code, Section 1956(a)(1)(B)(i).

       I.     Manner and Means of the Conspiracy

   2. Acting interdependently, DHRUV JANI, JAMES ALBERT WITTE, and JASON

LEE HENDERSON and others unknown to the grand jury (the conspirators) carried out

the conspiracy using the following manner and means:

              a.     It was part of the conspiracy that the conspirators engaged in a

scheme to defraud whereby victims in the United States were contacted by telephone

and coerced into believing they were under investigation by “Agents” of federal law

enforcement agencies.

              b.     It was further part of the conspiracy that the conspirators told these

victims that their identities had been connected to a criminal incident, their imminent

arrest and or deportation from the United States had been ordered by law enforcement,

and that the only way to avoid arrest and or deportation was to pay the “Government”

large sums of money, as instructed.

              c.     It was further part of the conspiracy that these victims were

instructed to go to their banks and engage in financial transactions, to wit, the

withdrawal of cash from their account(s) and ship the cash to an alleged government

official via Federal Express (FedEx) or the United Parcel Service (UPS), both interstate

commercial carriers.

              d.     It was further part of the conspiracy that as a result of these

materially false and fraudulent pretenses, representations, and promises, these victims



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mailed the packages of cash as directed to addresses within the State and District of

Colorado.

              e.     It was further part of the conspiracy that WITTE and HENDERSON,

using false identification cards provided to them by JANI, picked up the packages of

cash mailed by the victims to various addresses in Colorado and provided this cash to

JANI, thereby concealing the control of the proceeds of this specified unlawful activity

through the use of the false identification cards.

              f.     Specifically, as part of the scheme, on June 3, 2020, Victim G.M. of

Pennsylvania mailed, as directed by a conspirator, $10,000 to an individual named

“Dennis Lake” at 111 East Platte Avenue, Fort Morgan CO. This is the address of a

Walgreen’s store. The package was sent via FedEx and arrived the next day, June 4,

2020. On that day, video at this Walgreen’s store captured JANI and WITTE in the

store together. WITTE picked up the package using a false identification card in the

name of “Dennis Lake,” and while in the store, used JANI’s debit card to make a

purchase.

              g.     Also as part of the scheme, on July 1, 2020, Victim D.Z. of

California mailed, as directed by a conspirator, $230,000 to an individual named

“Christine Minor” at 10501 E. Colfax, Aurora CO. This is the address of a Walgreen’s

store. Video on WITTE’s phone showed JANI and WITTE opening the box the next

day and counting the cash in a hotel room in Denver. When the counting is complete

JANI said, “$230,000 complete.”

              h.     Also as part of the scheme, on July 21, 2020, Victim R.C. of Rhode

Island mailed, as directed by a conspirator, $13,000 to an individual named “Andrew

Pwesei” at 2281 East Arapahoe Road, Littleton CO. This is the address of a
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Walgreen’s store. The package was sent via FedEx and arrived the next day, July 22,

2020. On that day, video at this Walgreen’s store captured JANI and WITTE arriving at

the store together in the same vehicle. WITTE went into the store and picked up the

package from R.C. using a false identification card in the name of “Andrew Pwesei,” and

left the store in the same vehicle with JANI.

              i.     Also as part of the scheme, on August 19, 2020, Victim S.M. from

Florida mailed, as directed by a conspirator, $10,500 to an individual named “John

Robinson” at 2600 11th Avenue, Greeley. This is the address of a Walgreen’s store.

The package was sent via FedEx and arrived the next day, August 20, 2020. JANI and

HENDERSON were in text communication on August 19, 2020, during which JANI told

HENDERSON “Two packets are confirmed for tomorrow.” On August 20, 2020, an

individual using a false identification card in the name of “John Robinson” picked up

S.M.’s package.

              j.     Also as part of the scheme, on September 11, 2020, two victims

mailed, as directed by a conspirator, funds to an individual named “Mark Payton” at 111

East Platte Avenue, Fort Morgan CO. This is the address of a Walgreen’s store. Both

packages were sent via FedEx and arrived at the Walgreen’s store on September 14,

2020. The first victim, N.P. of Illinois mailed $26,900 as directed and the second victim,

S.H. of New York mailed $41,000 as directed. The morning of September 14, 2020,

JANI and HENDERSON were in text communication about JANI picking up

HENDERSON. A few hours later, HENDERSON is captured on the Walgreen’s store

video picking up both packages using a false identification card in the name of “Mark

Payton.”



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             k.       It was further part of the conspiracy that JANI paid WITTE and

HENDERSON a portion of the fraud proceeds for each package they retrieved to

encourage WITTE and HENDERSON to continue picking up additional packages of

cash.

             l.       It was further part of the conspiracy that JANI instructed WITTE to

purchase money orders in Colorado using cash proceeds of the mail fraud scheme and

deposit these money orders into U.S. bank accounts, in order to conceal the nature,

source, location, ownership, and control of the proceeds of the specified unlawful

activity.

              m.      Specifically, as part of the scheme, on July 22, 2020, the day

WITTE picked up the $13,000 in cash mailed by Victim R.C. of Rhode Island using the

false identification card of “Andrew Pwesei” in Littleton, CO as alleged in Paragraph h.

above, WITTE, using his own identification card, purchased five $1,000 money orders at

a Walmart in Centennial, CO. Approximately 25 minutes later, an individual using a

false identification card in the name of “Andrew Pwesei,” purchased five more $1,000

money orders at a Walmart in Aurora, CO. The next day, on July 23, 2020, all ten

money orders, for a total of $10,000, were deposited into a bank account in the name of

an individual with the initials S.K. who lives in New Jersey. All ten money orders were

signed with WITTE’s name even those money orders purchased using the false name

of “Andrew Pwesei.”

             n.       Also as part of the scheme, on August 27, 2020, JANI and

HENDERSON were in text communication indicating that JANI had picked up

HENDERSON and taken him to a store where HENDERSON texted he was in a long

line. Soon after, an individual purchased money orders from three separate 7-11 stores
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in the total amounts of $2,000, $2,500, and $2,000. After the purchase of these money

orders, JANI texted to HENDERSON the bank account and routing numbers for a bank

account in the name of an individual with the initials of S.S. who lives in Michigan.

Approximately 30 minutes later, an individual deposited $5,500 into S.S.’s bank account

which consisted primarily of the money orders purchased at the 7-11 stores.

              o.     It was further part of the conspiracy that after JANI fled to India, he

instructed Victim R.S. whose identity is known to the Grand Jury, about where to find

cash that he had hidden in a house he shared with Victim R.S. while in Colorado. On

multiple occasions between approximately December 8, 2020, and April 28, 2021, JANI

directed Victim R.S. to deposit a total of approximately $20,000 of the cash proceeds

from the scheme described above into an account held jointly by Victim R.S. and JANI.

JANI then used money transfer services to move the majority of this money from the

joint account into accounts in his name to which he had access, in order to conceal the

nature, source, location, ownership, and control of the proceeds of the specified

unlawful activity.

   3. Through this conspiracy, Defendants DHRUV JANI, JAMES ALBERT WITTE,

and JASON LEE HENDERSON conspired to launder approximately $1.5 million in mail

fraud proceeds obtained from approximately 50 victims.

       All in violation of Title 18, United States Code, Section 1956(h) and

1956(a)(1)(B)(i).

                                       COUNT 2
                                    DHRUV JANI
                               JAMES ALBERT WITTE
                                 Money Laundering
                            18 U.S.C. §§ 1956(a)(1)(B)(i) and 2

   4. Paragraphs 2.a-e of this Superseding Indictment are incorporated fully herein by
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this reference.

   5. On or about June 4, 2020, DHRUV JANI and JAMES ALBERT WITTE did

knowingly conduct and attempt to conduct a financial transaction affecting interstate

commerce, and did aid and abet the same, which transaction involved the proceeds of

specified unlawful activity, that is, mail fraud, in violation of Title 18, United States Code,

Section 1341, knowing that the transaction was designed in whole or in part to conceal

and disguise the nature, location, source, ownership, and control of the proceeds of

specified unlawful activity, and also knowing, while conducting and attempting to

conduct such financial transaction, that the property involved in the financial transaction

represented the proceeds of some form of unlawful activity, in violation of Title 18,

United States Code, Section 1956(a)(1)(B)(i).

   6. Specifically, as part of the scheme alleged above, on June 4, 2020, JANI and

WITTE went to a Walmart store together to pick up $10,000 in cash mailed by Victim

G.M. of Pennsylvania to a “Dennis Lake.” WITTE picked up G.M.’s package using a

false identification card in the name of “Dennis Lake,” thereby concealing the control of

the proceeds of this specified unlawful activity through the use of the false identification

card.

        All in violation of Title 18, United States Code, Sections 1956(a)(1)(B)(i) and (2).

                                        COUNT 3
                                     DHRUV JANI
                                JAMES ALBERT WITTE
                                  Money Laundering
                             18 U.S.C. §§ 1956(a)(1)(B)(i) and 2

   7. Paragraphs 2.a-e of this Superseding Indictment are incorporated fully herein by

this reference.

   8. On or about July 2, 2020, DHRUV JANI and JAMES ALBERT WITTE did
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knowingly conduct and attempt to conduct a financial transaction affecting interstate

commerce, and did aid and abet the same, which transaction involved the proceeds of

specified unlawful activity, that is, mail fraud, in violation of Title 18, United States Code,

Section 1341, knowing that the transaction was designed in whole or in part to conceal

and disguise the nature, location, source, ownership, and control of the proceeds of

specified unlawful activity, and also knowing, while conducting and attempting to

conduct such financial transaction, that the property involved in the financial transaction

represented the proceeds of some form of unlawful activity, in violation of Title 18,

United States Code, Section 1956(a)(1)(B)(i).

   9. Specifically, as part of the scheme alleged above, on July 2, 2020, JANI and

WITTE were in possession of the $230,000 in cash mailed by Victim D.Z. of California

to “Christine Minor.” This package was picked up by a conspirator using a false

identification card in the name of “Christine Minor,” thereby concealing the control of the

proceeds of this specified unlawful activity through the use of the false identification

card.

        All in violation of Title 18, United States Code, Sections 1956(a)(1)(B)(i) and (2).

                                        COUNT 4
                                     DHRUV JANI
                                JAMES ALBERT WITTE
                                  Money Laundering
                             18 U.S.C. §§ 1956(a)(1)(B)(i) and 2

   10. Paragraphs 2.a-e of this Superseding Indictment are incorporated fully herein

by this reference.

   11. On July 22, 2020, DHRUV JANI and JAMES ALBERT WITTE did knowingly

conduct and attempt to conduct a financial transaction affecting interstate commerce,

and did aid and abet the same, which transaction involved the proceeds of specified
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unlawful activity, that is, mail fraud, in violation of Title 18, United States Code, Section

1341, knowing that the transaction was designed in whole or in part to conceal and

disguise the nature, location, source, ownership, and control of the proceeds of

specified unlawful activity, and also knowing, while conducting and attempting to

conduct such financial transactions, that the property involved in the financial

transactions represented the proceeds of some form of unlawful activity, in violation of

Title 18, United States Code, Section 1956(a)(1)(B)(i).

   12. Specifically, as part of the scheme alleged above, on July 22, 2020, DHRUV

JANI and JAMES ALBERT WITTE went to a Walgreen’s store together to pick up

$13,000 in cash mailed by Victim R.C. of Rhode Island to an “Andrew Pwesei.” WITTE

picked up R.C.’s package using a false identification card in the name of “Andrew

Pwesei,” thereby concealing the control of the proceeds of this specified unlawful

activity through the use of the false identification card.

       All in violation of Title 18, United States Code, Sections 1956(a)(1)(B)(i) and (2).

                                        COUNT 5
                                      DHRUV JANI
                                 JAMES ALBERT WITTE
                                   Money Laundering
                               18 U.S.C. §§ 1956(a)(1)(B)(i) and 2

   13. Paragraphs 2.a-e and l of this Superseding Indictment are incorporated fully

herein by this reference.

   14. On July 22, 2020, DHRUV JANI and JAMES ALBERT WITTE did knowingly

conduct and attempt to conduct a financial transaction affecting interstate commerce,

and did aid and abet the same, which transaction involved the proceeds of specified

unlawful activity, that is, mail fraud, in violation of Title 18, United States Code, Section

1341, knowing that the transaction was designed in whole or in part to conceal and
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disguise the nature, location, source, ownership, and control of the proceeds of

specified unlawful activity, and also knowing, while conducting and attempting to

conduct such financial transactions, that the property involved in the financial

transactions represented the proceeds of some form of unlawful activity, in violation of

Title 18, United States Code, Section 1956(a)(1)(B)(i).

   15. Specifically, as part of the scheme alleged above, on July 22, 2020, soon after

WITTE, accompanied by JANI, picked up $13,000 in cash mailed by Victim R.C. of

Rhode Island using the false identification card “Andrew Pwesei,” WITTE, using his own

identification card, purchased five $1,000 money orders at a Walmart in Centennial, CO.

Approximately 25 minutes later, an individual using a false identification card in the

name of “Andrew Pwesei,” purchased five more $1,000 money orders at a Walmart in

Aurora, CO. The next day, on July 23, 2020, all ten money orders, for a total of $10,000,

were deposited into a bank account in the name of an individual with the initials S.K.

who lives in New Jersey. All ten money orders were signed with WITTE’s name even

those money orders purchased using the false name “Andrew Pwesei,” thereby

concealing the control of the proceeds of this specified unlawful activity through the use

of the false identification card and the third-party bank account.

       All in violation of Title 18, United States Code, Sections 1956(a)(1)(B)(i) and (2).

                                       COUNT 6
                                    DHRUV JANI
                              JASON LEE HENDERSON
                                 Money Laundering
                            18 U.S.C. §§ 1956(a)(1)(B)(i) and 2

   16. Paragraphs 2.a-e of this Superseding Indictment are incorporated fully herein

by this reference.

   17. On September 14, 2020, DHRUV JANI and JASON LEE HENDERSON did
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knowingly conduct and attempt to conduct a financial transaction affecting interstate

commerce, and did aid and abet the same, which transaction involved the proceeds of

specified unlawful activity, that is, mail fraud, in violation of Title 18, United States Code,

Section 1341, knowing that the transaction was designed in whole or in part to conceal

and disguise the nature, location, source, ownership, and control of the proceeds of

specified unlawful activity, and also knowing, while conducting and attempting to

conduct such financial transactions, that the property involved in the financial

transactions represented the proceeds of some form of unlawful activity, in violation of

Title 18, United States Code, Section 1956(a)(1)(B)(i).

   18. Specifically, as part of the scheme alleged above, on September 14, 2020,

HENDERSON, accompanied by JANI, used a false identification card in the name of

“Mark Payton” to pick up $26,900 mailed by Victim N.P. of Illinois and $41,000 mailed

by Victim S.H. of New York, thereby concealing the control of the proceeds of this

specified unlawful activity through the use of the false identification card.

       All in violation of Title 18, United States Code, Sections 1956(a)(1)(B)(i) and (2).

                                     COUNT 7
                                    DHRUV JANI
              Interstate Transmission of a Threatening Communication
                                   18 U.S.C. § 875(c)

   19. On or about March 13, 2022, in the State and District of Colorado, DHRUV

JANI did knowingly transmit in interstate and foreign commerce a communication

containing a threat to injure the person of another, to wit, in a recorded telephone call

when Victim R.S. was in the State and District of Colorado and DHRUV JANI was

outside of the United States, DHRUV JANI threatened to kill Victim R.S. with his “own

hands.”


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   All in violation of Title 18, United States Code, Section 875(c).

                                       FORFEITURE

   20. Upon conviction of the violations alleged in Counts 1-6 of this Superseding

Indictment, in violation of Title 18, United States Code, Sections 1956(h) and

(a)(1)(B)(i), Defendants DHRUV JANI (Counts 1-6), JAMES ALBERT WITTE (Counts

1-5), and JASON LEE HENDERSON (Counts 1 and 6), shall forfeit to the United

States, pursuant to Title 18, United States Code, Section 982(a)(1), any and all of his

right, title, and interest in all property involved in the offense and any property traceable

to such property, including, but not limited to:

              •      The entry of a money judgment in the amount of value of the

                     property involved in the offense.

   21. If any of the property described in paragraph 20 above, as a result of any act or

omission of the defendants:

              a)     cannot be located upon the exercise of due diligence;

              b)     has been transferred or sold to, or deposited with, a third

                     party;

              c)     has been placed beyond the jurisdiction of the Court;

              d)     has been substantially diminished in value; or

              e)     has been commingled with other property which

                     cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 18, United States Code, Section

982(b)(1) and Title 28, United States Code, Section 2461(c), incorporating Title 21,




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United States Code, Section 853(p), to seek forfeiture of any other property of the

defendants up to the value of the forfeitable property.



                                             A TRUE BILL



                                             Ink signature on file in Clerk’s Office
                                             Foreperson




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